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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 GRUPO PETROTEMEX, S.A. DE                   )
 C.V. and DAK AMERICAS LLC,                  )     Civil Action No. 16-cv-02401 SRN/HB
                                             )
                       Plaintiffs,           )     DEFENDANT POLYMETRIX AG’S
 v.                                          )     MOTION TO DISMISS PLAINTIFFS’
                                             )     COMPLAINT PURUSANT TO
                                             )     FED.R.CIV.P. (12)(b)(1)
 POLYMETRIX AG,                              )
                                             )
                       Defendant.            )
                                             )
                                             )

       Defendant Polymetrix AG (“Polymetrix”) moves the Court for an Order

dismissing the Complaint of Plaintiffs Grupo Petrotemex, S.A. de C.V. and DAK

Americas LLC’s (“GPT/DAK”) for lack of subject matter jurisdiction.

       This Court lacks subject matter jurisdiction because on July 12, 2016 when

GPT/DAK filed their Complaint, there was no real and immediate injury or threat of

injury that was caused by Polymetrix. Accordingly, there is no “case” or “controversy”

that is justiciable under Article III of the Constitution to warrant the declaratory relief that

GPT/DAK effectively seeks by way of its Complaint.

       Since the Poland and China plants are located outside the U.S., the only legal basis

for GPT/DAK to assert infringement of the patents-in-suit by Polymetrix in connection

with these plants, and the only way the trier of fact could possibly find infringement

would be if: 1) product manufactured by these plants was “made by a process patented in

the United States” and imported into the U.S.; and 2) Polymetrix induced such

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importation. 35 U.S.C. § 271(g). In other words, the “infringing act” under § 271(g)

with respect to U.S. method patents is the importation of product made by the process,

not the performance of the process steps. Thus, without any importation, there can be no

infringement liability under § 271(g) as a matter of law.

       There has been no importation into the U.S. of PET manufactured at the Poland

plant and the China plant was not in commercial operation at the time of GPT/DAK’s

Complaint. It has been almost two years since GPT/DAK filed their Complaint and there

has been no importation of PET into the U.S. from the Poland plant and the China plant is

still not in commercial operation. As a result, no case or controversy of sufficient

“immediacy” or “reality” existed as of the day GPT/DAK filed their Complaint to create

a justiciable controversy under Article III of the Constitution. Nor is there a case or

controversy today because nothing has changed in that regard during the 2 years

following that date.

       This Court also does not have subject matter jurisdiction with respect to any offers

Polymetrix may have made to supply equipment, designs or engineering services to either

build an EcoSphere™ plant in the U.S. or to retrofit an existing PET manufacturing plant

in the U.S.

       Finally, even if GPT/DAK could establish an “injury-in-fact” that is “fairly

traceable” to Polymetrix’s conduct in connection with the Poland and China plants, this

“injury” is not redressable by a favorable decision of the Court. First, because there has

been no importation from the Poland plant and/or the China plant, and because any

unaccepted “offers for sale” do not constitute an infringement, there will be no damages

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suffered by GPT/DAK. This leaves injunctive relief as GPT/DAK’s only potential

remedy. Thus, assuming for argument sake that GPT/DAK’s subjective fear of the

speculative and hypothetical importation of PET into the U.S. made at the Poland or

China plants created a justiciable case or controversy, the Court is without power to

prevent that importation through injunctive relief.

       Polymetrix makes this motion based on all the Declarations of Martin Muller,

Andreas Christel, Todd A. Noah, the supporting memorandum, the arguments of counsel,

and all other records, filings, and proceedings herein.


Dated: March 7, 2018                               Respectfully Submitted,

                                                   DERGOSITS & NOAH LLP


                                           By:       /s/ Todd A. Noah
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